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                                                                                              Daniel Szalkiewicz <daniel@lawdss.com>



 Case 2:21-cv-20706-SDW-ESK DOE v. SEBROW
 1 message

 Daniel Szalkiewicz <daniel@lawdss.com>                                                                       Mon, Dec 5, 2022 at 11:46 AM
 To: Ira W Heller <iwhelleresq@gmail.com>

    Mr. Heller,

    Please see the attached letter.

    Very Truly Yours,

    Daniel S. Szalkiewicz, Esq.

    Daniel Szalkiewicz & Associates, P.C.
    23 West 73rd Street, Suite 102
    New York, New York 10023
    Tel: (212) 706-1007
    Direct Dial: (212) 760-1007
    Cell: (929) 373-2735
    Fax: (646) 849-0033

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         101K




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Daniel Szalkiewicz                                                          23 West 73rd Street
                                                                            Suite 102
                                                                                                     T: (212) 706-1007
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& Associates                                                                New York, NY 10023       lawdss.com



                                                                 December 5, 2022

          Via E- Mail Only (iwhelleresq@gmail.com)
          Ira Heller Law, LLC.
          Attn: Ira Heller, Esq.
          1317 Morris Avenue
          Union, New Jersey 07083

          Re:        JOHN DOE v. BAILA SEBROW
                     United States District Court, District of New Jersey
                     Case No.: 2:21-cv-20706


          Dear Mr. Heller,

                 Please accept this letter as a follow-up to a brief phone call we had on November 23,
          2022, concerning the status of this matter.

                 On November 11, 2022, I sent you a copy of the court order dated November 10, 2022.
          The court order explicitly required you to perform specific actions, including:

                     1. Providing us your Rule 26(a)(1) disclosures by November 12, 2022;

                     2. Meet and confer with our office concerning e-discovery by November 19, 2022; and

                     3. Serve written discovery requests by November 19, 2022.

                 As of today, we have not received any of the items and you have not met with us to
          discuss e-discovery. Please provide your Rule 26(a)(1) disclosures by Wednesdays December 7,
          2022 or else we will have no choice but to alert the court.

                  I note that pursuant to Rule 26(a)(1), you are required to disclose all potential witnesses,
          including those you stated on the phone have personal knowledge about my client.

                     Thank you.

                                                                 Very Truly Yours,

                                                                 DANIEL SZALKIEWICZ & ASSOCIATES, P.C.


                                                                 By: Daniel S. Szalkiewicz, Esq.
                                                                 daniel@lawdss.com




Daniel Szalkiewicz & Associates, P.C.
